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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 ALYCE MILITZOK,                                )
                                                )
         Plaintiff,                             )
                                                )
 ~                                              )      Case No. O:14-cv-60719-UU
                                                )
 DELTA OUTSOURCE GROUP, INC.,                   )
                                                )
         Defendant.                             )
                                     NOTICE OF SETTLEMENT

         COME NOW Plaintiff Alyce Militzok and Defendant Delta Out source Group, Inc., by

 and through their undersigned counsel, and state they have reached a settlement of all claims set

 forth in the Complaint.   These parties jointly request the Court take no further action in this case

 for thirty (30) days to allow them to document the settlement.



 Dated this 16th day of June, 2014              Respectfully submitted,

 THE YANKEE CLIPPER LAW CENTER                       FORDHARRrsoN     LLP

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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 16th day of June, 2014, I electronically filed the

 foregoing document with the Clerk of the Court using CMlECF.       I also certify that the foregoing

 document is being served this day on all counsel of record or pro se parties identified on the

 Service List below in the manner specified, either via transmission of Notices of Electronic

 Filing generated by CMlECF     or in some other authorized manner for those counselor        parties

 who are not authorized to receive electronically Notices of Electronic Filing.

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